Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 1 of 37 PagelD 5

 

A847-3368-5 149.1

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 2 of 37 PagelD 6

 
  

g #-91869937 E-Filed 06/28/2019 :03:40:22 PM

- INTHE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIF

4 IN AND FOR LEE.COUNTY, FLORIDA
| CIVIL DIVISION
HAYDEN & ASSOCIATES, INC. a Florida
corporation, .
Plaintiff,
Vv, CASE NO.:.

THE HANOVER INSURANCE. COMPANY,

a New Hampshire-corporation,

Defendant..

 

i , :
_ COMES NOW, the Plaintiff, HAYDEN & ASSOCIATES, INC., by and through the
undersigned attorney, and sues the Defendant, THE-HANOVER INSURANCE COMPANY,
and as grounds therefore states:

oo This, isan action for damages that exceeds the sum of $15,000.00, exclusive
of interest, costs and attorney's fees and is otherwise within the jurisdictional limits of this
Court.

a. Plaintiff, HAYDEN & ASSOCIATES, INC. (“HAYDEN”), is a Florida
corporation with its principal place of business in Lee,County, Florida. ,

3. Defendant, THE HANOVER INSURANCE. COMPANY (“HANOVER”), is a |
New Hampshire corporation-doing business in Lee County, Florida.

_ #} On.or about October 12, 2018 a lawsuit was commenced against HAYDEN by
ACES OF NAPLES, LLC..(“ACES”) ‘in the Circuit Court for Collier County, Florida under
Clerk's:‘Case No. 17-CA-51 (“Lawsuit”):

5. Initially the only claim. brought against: HAYDEN in the: Lawsuit was for
breach of contract, and was based upon allegations:that on or about November:16, 2015,
‘HAYDEN, in its capacity as .a property mandger, had reledsed $93,478.25 ‘in tenant
security deposits and advance rent (“Deposits”) to the wrong party. -

___ 6. More specifically, it-was alleged that a property managed by. HAYDEN was
sold from one entity to another, atid after the sale ‘HAYDEN had mistakenly released the
Deposits to the seller, when they had previously been-assigned to the buyer, ACES,

ae The seller refused to return: the Deposits to the: buyer,and ACES sued
HAYDEN for the-loss.

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 3 of 37 PagelD 7

  

4 | 8. Subsequently, on February 20, 2019, ACES amended the complaint filed
against HAYDEN in the Lawsuit to add ah action against HAYDEN for negligence based
upon the same-operative facts,

g.. Defendant, HANOVER, issued a professional lability policy of insurance to.
HAYDEN, bearing policy. number LHW A974690-02.(“Policy”), which was in effect at. the
time it wag alleged that HAYDEN released the Depositsto the wrong paity: A trué-and
‘correct.copy of the policy is‘ attached hereto and made a part hereof as Exhibit “A.”

__ 10. ThePolicy issued by HANOVER provides coverage for professional services.
‘as follows: ,

A. Coverage- What this Policy Insures

1. Professional Services Coverages
We will pay on your behalf those sums which. you become legally
obligated to. pay as damages and clair expenses because of any claim
made.against:you arising:from a wrongful act in the rendering or failure to
render professional services by you.

“Claim expenses” aré defined within the Policy’as follows:

D. _—_—Definitions- “
Claim expenses.means all expenses we-ineur or authorize in. writing for the.
investigation, adjustment, defense or appeal of ‘a claim. These expenses
‘include fees charged by a lawyer,-mediator or arbitrator with our consent for
which you are obligated.

11. Plaintiff, HAYDEN has called upon Defendant, HANOVER, to provide its.
insured, HAYDEN,,.with. coverage atid.a defetise to the Lawsuit,

12. The Defendant, HANOVER, has wrongfully denied HAYDEN coverage, and
has refused to provide HAYDEN with a defense to the Lawsuit.

13. Defendant, HANOVER, has materially breached by the terms of the Policy by .
refusing to. provide HAYDEN with a-defense against the Lawsuit, and by repudiating
coverage for-any loss suffered by HAYDEN as.a result of the Lawsuit.

_14.. That as a. direct, proximate and natural result of HANOVER'’S refusal to.
provide HAYDEN with coverage or a defense to’ the claims made against HAYDEN in the.
Lawsuit, HAYDEN has been required to retain the services of the undersigned attorneys to
represent and protect HAYDEN'S interest in-the Lawsuit. Plaintiff has become obligated to
pay-the undersigned attorneys a reasonable fee-for services imdefending the Lawsuit.

15. _‘That'as a dirett, proximate and natural result: of HANOQVER’S refusal to
provide HAYDEN with coverage or a defense to the claims made against HAYDEN in the
Lawsuit, HAYDEN has been required to retain the services of the undersigned attorneys to
bring this.action, and HAYDEN has agréed to-pay the attorneys.a reasonable fee.

 

 
  

ase 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 4 of 37 PagelD 8

16. That as a direct, proximate and natural result of HANOVER’S. refusal to
provide HAYDEN with coverage or.a defense to the-claims made in-the Lawsuit, HAYDEN
has been deprived of other benefits under the Policy, including but not limited to.coverage
for sums which HAYDEN may become legally obligated to pay.as-a consequence of the
Lawsuit.

i7. HADYEN is entitled to tecovér damages from HANOVER for breach of
contract.

18, In the event that HAYDEN prevails ini this action, HAYDEN is entitled to an
award of attorney’s fees and costs pursuant to § 627.428, Fla.Stat., or other Florida Law.

19. All coriditions precédent to the filing. of this action have been satisfied,
excused or waived.

WHEREFORE, the Plaintiff, HAYDEN, demands judgment against the Defendant,
HANOVER, for all damages to which it is legally. entitled, including but. not liinited to an
amount équal to any. damages awarded against HAYDEN in the Lawéuit, an. amount equal
to any payments made, or obligated:to be made by HAYDEN pursuant to a settlement of
the Lawsuit, interest thereon, an-award of reasonable attorney’s fees and costs incurred by
’ HAYDEN in defense of the Lawsuit, pursuant to § 627.428, Fla. Stat. an. award of-
reasonable-attornéy’s fees.and costs incurred by HAYDEN in connection with bringing this
action, and for all other relief the Court deems necessary-and appropriate.

DEMAND. FOR JURY TRIAL: Plaintiff, HAYDEN, demands trial by jury on. all
issues so triable asa matter of right,

   

s/ Jeff Bluestein, Esq.
Jeff Bluestein, Esq.
Anthony M. Lawhon, P.A.

Fla. Bar No:: 965390

Attorneys for Plaintiff

3003 Tamiami Trail N.,, Ste. 200
Naples, FL 34103

Phone: 239-325-8956

Fax: 239-236-3300 _
jeffbluestein @lawhonlaiv.us

jamiekelenski@lawhonlaw.us:

 

 

 
2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 5 of 37 PagelD 9

   

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 6 of 37 PagelD 10

  

 

 

 

PRODUCER: Babb, Inc. (Fort Myers)
245i First Street
Fort Myers, FL 33904

 

NAIIED INSURED: ‘PROGRAM ADMINISTRATOR:
Hayden & Associates, Inc.
McGowan Program Administrators

12650'Whitehail Dr. (A Division of MeGowan & Company; tac.)
Fort Myers, FL, 33907 Old Forge Centre — 20595 Lorain Road :
Fairview Park;.OH 44126

 

 

 

 

 

PH: (440}333-6300 / F: (440) 333-3214

 

TERE 1. COVERAGE PERIOD: Effective 08/10/2018 TO 0810/2019 At 12:01 A.M. Standard Time
At the Named Insured’s Mailing Address Shown Above

 

 

 

 

“POLICY NUMBER: LHW A974690-02°
ITEw'2, ‘INSURER: The Hanover Insurance Company
‘ITEM 3. LIMITS OF LIABILITY AND RETENTIONS: '
. $1,000,000. For Each Claim $ 10;000 Deductible

'5:f,000.000 For-All Claims:in-the Aggregate

 

 

TEM-4,. FORMS, TERMS & CONDITIONS ATTACHED AT INCEPTION:
‘See 910-0912:ltem 9.

 

E001 - ‘Property Managers E&O Program t McG&C ©

 

 

 
  

Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 7 of 37 PagelD 11

 

 

‘IMPORTANT COVERAGE NOTES:& ADDITIONAL TERMS, CONDITIONS. & EXCLUSIONS:

 

ITEMS.

‘ (3} You Must Notify-Us. if You Have A Change In Operations-Or Exposures Which incréases The
insurante.Company’s: Risk Of Loss.

{2} This “Evidence Of ingurance-& Purchasing Group Membership. Agreement” Does Not Convey Or Modify
insurance Coverage. The Policy Is The Contfalling | Instrument With Regards To The Terms, And: Conditions
Exclusions. The Application Becomes Az Material Part of The Policy Of Insurance, This- “Evidence Of
jnsurance’& Purchasing Groups Membership Agreement” Is Intended Ta Highlight Thé Pertinent Terms &
Conditions Of Coverage, Provide A Detaited ‘Statement Of Charges, And Convey Membership Terms-And
Conditions.

 

 

 

iTEM 6, ‘SCHEDULE OF CHARGES:

Total Premium, Fees, Surcharges & Taxes (lf Applicable): $-5,188.60

Premium: $ 4,986.00 Charged @y insurance Cormpany.

Purchising Group Membership Fee: $ 260.00 Charged By Purchasing Group.
Surplus Lites Tax: $ 9:00: Charged By State

Staripinig Feé: $ 0.00 Charged By State

Other State or Municipal Surcharge: $ 0.00 Charged. By State or Municipality ;

Loss Controbinspection Fee: $ 0:00 Charged By Program Administrator or Inspection Service

Purpose & Effect of *Application For Insurance & Purchasing Group.Membership.” By” Signing An “Application For Insurance -& Purchasing Group
Membership” (Hereinafter “Application’), Applicant Agreed: (1) To. Become A Member Of ‘The Metropolitan’ Commercial Real Estate Association
(Hereinafter “PG"}; {2} To Participate: ‘In A Program Of insurdnte Designed Exclusively For The Members. Of PG; Q) To Accept, Abide By, And’ Be
Bound By The “Terms & Conditions ‘Of Insurance” Posted At _www.purchasingerqups.com; (4) To Accept; Abide. By, And.Be Bound By. The
“Membership Agreement — Terms'& Conditions Of Membership” Posted At.www,purchasinggroups.com: (5) To Pay All Premiums {includirig. Audit
And Additional Premiums, [f Applicable}, Fees (including” Broker. & Purchasing.Group Membership Fees), And State & Federal Taxes & Surcharges {If
Applicable) When -Due:. (8) That Any. Additionat Material Supplied By Appligant Or ‘Applicant's - Ingurante Broker To The Managing ‘General
Underwriter For aA Given Program Of Insurance Becomes A Material Part Of The Application For Insurance;-(7) That The Application Which It Signed
Was The Basis Of The Contract [Policy &/Or “Evidence: Of Insurance & Purchasing Group Membership” (Hereinafter “EO!”)|, Whether Or Not Said
Application Was/is Attathed. To The. Policy &/Or EO! (8) That The Application Is & Material Part Of The Policy &/Or. £01, Whether Or Not. It-ls
Attached To The Pallcy &/Or EOI; And; {9} That The Application Is.Consideréd Attached To The-Policy R/Or £0! For Legal Purposes, s Whether Or Not
It fs Physically. Or Electronically Attached To The Policy &/Or.E01.-

Disclosure Pursuant To Federal Law. Regarding Purchasing Groups [U.S.C..15 3904, Et Seq.) PG ISA “Purchasing: -Group,” As Defined Under Federal
Law, Fornied.Ta-Purchase'Liability Insusancé On A Group Basis For Its Members.To Cover The Similar Or:Related Liability Exposure(s} Te Which The
‘Members OF G Are Exposed. By Virtue Of Their, Related, Similar, Or Cammion Business Or Servite. Members Do Nat Share Limits And Each Member!
1s Provided With its Own Poliey &/Or EOT,

Disclosure Pursuant To Terrorism Risk-Insurance Program Reauthorization Act of 2007 [Et Seq, I. By Signing Below, Applicant Agrees- That It Has
‘Read And Understands’ The Most: Recent “Oisclosure Pursuant To The, Terrorism Risk. Insurance’ Program Reauthorization Act of 2007" Which

Appears At www.purchasinggroups.com,

Ta Learn More. Please Visit www-.purchasinggroups.com, Which-Contains More-Infarmation about Your Purchasing Group and Purchasing Groups,
In General, As Well As Your Insurance Coverage, Premiums, Fees, Taxes, The MGUs’ Income, And Your Insurance Broker's. Income;

 

 

EO!-01 Property Managers £80 Program McG&C.O

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 8 of 37 PagelD 12

   

Customer Notice of Privacy Policy and Producer Compensation Practices
Disclosures

Privacy Policy Disclosure

Collection of information.

‘We collect personal information so that. we may offér quality products and services. This information may include.
but'is not limited to, name; address, ‘Social Security number, and consumer Teports from consumer. reporting
agencies in connection with your application for insurance or any renewal of insurance. For example, we.may
access driving records, insurance scores ar health information. Our informiation sources will differ depending on
your. state and/or the product/or service we are proyiding to you, This information’ may be collected directly from
you and/or from affiliated companies, non-affiliated third-parties; consumer reporting agencies, medical providers
and. third parties such-as the Medical Information Bureau.

We, and the third. paries we parther with, may. track some of the web pages you visit through cookies, pixel
tagging or other technologies. We curreritly donot process or comply with any web browser's “do not track”
‘Signals: or similar mechanisms that request us, to take steps to disable online tracking. For additional information
regarding online privacy, please see our online privacy statement, tocated at-www-.hanover.com.

Disclosure of information

‘We may disclose ‘non-public; personal information you prayide, as required to conduct our business. and as
permitted or required: by law. We may share information with our insurance company affi liates or with third parties
that assist usin processing and servicing your atcount. We. also may-share your information- with .,égulatory or
law enforcemént agencies, reinsurers and others, as permitted or required by law.

‘Our insurance: sempanies may share information with their affiliates, but will not share information with ‘non-
affitiated third parlies-who would use the information to market products or services. to you.

Qur standards for. disclosure apply to all of our current.and former Customers. °

Safequards to Protect Your Personal Information

We recognize the need to prevent unauthorized access to the iriformation we-callect, including information held in
an eléctronic format on our computer systems. We maintain physical, electroni¢and procedural safeguards
intendéd to protect the.confidentiality and integrity of all non-public, personal information, including but not limited
to social security numbers, driver's license numbers: and other personally identifiable information.

internal Access to information

‘Access to personal, non-public information is limited to those people who need the information to provide. our
‘customers with. products or services, These People are: expected to protect this ififormation ‘trom inappropriate
‘access, disclosure and modification. |

 

Consumer Reports

In. some cases, we may obtain a consumer report in connection with: an application for i insurance,. Depending:on

the type of policy, a consumer report may include information about you or your business, such as:

‘s -character, geheral reputation, personal characteristics, mode of living;

° credit history; driving record (including records of any operators who will be insured under the policy); and/or

2 an appraisal of your dwelling or ‘place of ‘business that may include photos and comments on its general
condition :

Access to information

Upon written request, we will inform you if we have ordered-an investigative consumer report. You have the right
to make a written request within-a reasonable petiod for information’ concerning thé-naturé and’ scope of the report
and.tc ‘be interviewed ‘as pari of its preparation.. You may obtain a copy. of the: report from-the reporting agency
‘and, under-certain circumstances, you-may be entitled to.a-copy at ng cost:

231-0862 12 44 ; Page 1 of 2

 

 

 
e 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 9 of 37 PagelD 13

  
 
  

You also may review certain information we have about you or your business in our files. To review information
“we maintain: in our files about you or your business, please write. to us, providing your complete name, address
and policy number(s), ahd indicating specifically what you would like to-see: If you reqiest: actual. copies of your
fie, there may be a nominal charge.

We will fell you to whom we have disclosed the information within the two years:prior to your request. If thére is
“Nota record indicating that the information was. provided ‘to. another party, we will tell you to whom such
infermation is normally disclosed, ,

There is information that we cannot share-with you. This may include information collected in order fo evaluate-a
ciaim Under an insurance policy, when the ‘possibility ofa lawsuit exists: it may also. inclide. médical information
that we would have to forward to’a licensed medical doctor of your choosing so that it may be properly explained.

Correction of Information

if after reviewing your file. you believe information is incorrect, please write to thé consumer. reporting agency or to
us, whichever is applicable, explaining your position. The information in- question will be jnvestigated. If
appropriate, corrections will be made'‘to your file.dnd the parties to whom the incorrect information was disclosed,
if any, will be notified. However, if the investigation. substantiates the information inthe ‘file, you will be. notified of
the reasons why the file will not be changed, If you are not satisfied with the evaluation, you have the right to
place ‘a Statement in’ (he file-explaining.why you believe the information is incorrect. We-also-will sénd a-copy of
‘your statement to the parties, if'any, to wham we previously disclosed the information and include it in any future
disclosures.

 

Our Commitment to Privacy.

in the-insurance and financial Services business, lasting relationships are built upon mutual respect and trust.
With, that’ in mind, we will periodically review and revise our privacy policy and procedures. to ensure that we
remain compliant with all state and federal requirements. ff any provision of our privacy policy is-found to be non-
conipliant, thefi that provision: will be modified té reflect the ‘appropriate state or federal requitement. if any
modifications aré made; all remaining provisions of this privacy policy will remain in effect. For more detailed
information about. our. customer privacy policy (including any applicable state-specific policies} and our online
privacy statement, visit-our Web site, located at www-hariover.com,

Further information .

lf you have questions about our customer privacy ‘policy. (including any applicable. state-specific. policies) or our
:online privacy. statement, ar if you wouid iike to request information we have on file, please write to us at our
Privacy Office, N435, The Hanover Insurance Group, Inc., 440 Lincoln Street, Worcester; MA: 01653. Please
provide your complete name, address and policy number(s). A copy of our Producér Compensation Disclosuré is

also available. upon written request addressed to the af ention of-the Corporate Secretary, N435, The Hanover

Insurance-Group, 440 Lincoln Street; Worcester, MA 01653.

.Producer- Compensation Disclosure
Our. products are sold through independent agents and brokers, often referred. to as “Producers.” We may pay
Producers a fixed corimission for placing and renewing business with our company. We may also pay additional
commission and other forms of compensation and incentives to Producers who place and maintain their business
with us. Details of our Producer compensation Practices may-be found at www. hanover.com.

This notice-is being provided on behalf of the following Hanover Companies: The-Hanover Insurance Group, Inc, -
Allmerica Financial Alliance insurance Company’ - Allmeriéa Financial Bénefit Insurance Company - Allmerica
Plus:insurance Agency, Inc. - Citizens Insurance Company of America - Citizens Insurance Company of Illindis -
Citizens Irisurance Company of the Midwest- Citizens Insurance Company of Ohio - Citizens. Maniagemient, Inc. -
AIX Ins: Services of California, inc.- Campariajhsurance Agency.Go, Inc. - Campmed: Casualty & Indemnity Co.
Inc. - Chaucer Syndicates-Limited- Eduéators Insurance Agency, Inc.- Hanover Specialty Insurance Brokers; Inc.
~ The Hanover American Insurance Company. - The Hanover Insurance. Company ~ The Hanover New Jersey
Insurance Company - The. Hanover National Insurance Company - Hanover Lloyd's Insurance Company -
Massachusetts Bay Insurance Company - Opus -Invéstment Management, Ins. - Proféssiorials Direct Insurance
Services, Inc. -Professional Underwriters Agency, Inc. - Verlan Fire Insurance ‘Company. - Nova Casualty
Company - ADC Specialty Insurance.Company: .

231-0862-12.14 Page.2 of 2

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 10 of 37 PagelD 14

   
  

"ig gihe . Hanover Professionals
Hanover Risk Purchasing Group Program

”

° FLORIDA DECLARATIONS
THIS IS A CLAIMS-MADE POLICY. PLEASE READ THE POLICY CAREFULLY.

MISCELLANEOUS PROFESSIONAL LIABILITY POLICY

 

 

 

 

 

 

 

 

 

 

Policy Number Coverage is provided by: . Agericy Agency Code
LHW A974696-02__| The Hanover Insurdnce:Company McGowan & Company, Inc. 2003984
RISK PURCHASING GROUP NOTICE

This Miscellaneous Professional Liability Risk Purchasing Group: Policy is not protected by an
insurance insolvency guaranty fund in this state, and the Risk Purchasing Group may not.be
‘subject to all the insurance laws and rules of this. state.

 

 

IMPORTANT NOTICE REGARDING RISK PURCHASING-GROUPS:

Disclosure Pursuant to Federal Law Regarding Purchasing Groups [15 U.S.C, SEC, 3901, et seq]
the Metropolitan Commercial Real Estate Association (“MCREA") is a “Purchasing Group", as
defined under Federal faw, formed to purchase liability insurance on a group basis for its
Members to cover the similar or related liability exposure(s) to which-the Members of the
Purchasing Group are exposed by virtue of their related, similar, or common. businesses or
‘services. Members do not share limits and each member is provided with its. own policy and/or
evidence: of insurance:

 

 

Issue Date:
lem 1. Named Insured and Address: Item 2. Policy
Hayden & Associates, Inc. Period:

Inception Date: 08/10/2018
‘Expiration Date: 08/10/2019
12650 Whitehall. Dr. 42:01 A.M. Standard Time at.thé-address: ©

Fort flyers, FL 33907 of the Named insured as- stated herein

tem 3. LIMIT OF LIABILITY

Limit of Liability a. $1,009,000 ‘for each Claim: not to-exceed for all-Claims in:
. b. $1,000,000 the aggregate
item 4, DEDUCTIBLE: $10,000 Each Claim
item 5, RETROACTIVE DATE: 08/10/2007
item 6. PROFESSIONAL SERVICES Property Management and Reat Estate Agent/Broker and Real Estate Leasir

item 7. PREMIUM FOR THE POLICY PERIOD: _
‘State Surcharge and Tax: $. (if applicable)
Total Premium: $ 4,988.00

910-0912FL Of 16 Page { of 2

 

 
2:19-cv-00508-TPB-MRM Document 1-1 Filed. 07/22/19 Page 11 of 37 PagelD 15

   
 

BS nover Hanover Professionals
‘ hs Orprek ; y Pr ‘am
Insurance Croup” Risk Purchasing Group Progra:
tem 8. NOTICE:OF A CLAIM 7 ee
“Report any claim to the Company as réquited by Section G. DUTIES IN THE EVENT OF CLAIM(S} OR
POTENTIAL GLAIN(S):

The Hanover. Insurance Compariy
P.O} Box 15145 ;
‘Worcester, MA 01615

‘National Claims Telephone Number: “800-628-0250
Facsimile: 800-399-4734
Email: firstrepott@hanover.com

Item 9, Forms attached at issue:

251-0862 Privacy Policy Disclosure.

910-0912FL FL MPL. RPS. Declarations: Page

910-0001FL FL.MPL Policy

407-1268 OFAC Policyholder Noticed.

910-0018 Consent to Settle Amendment Endotsementd
910-0081 Real Estate Agent Specified ServicesO 0
910-0140 MPL. ERP Notice to PolicyholdersO 0

910-0198 Fair Housing Act Coverage 0

810-0006 FL Notice

910-0758FL FL Limited Bodily Injury or Property Damage Carve-Back (Sublimit)
910-0772FL FL Limited Discrimination Coverage Subliniit.
910-07 75FL FL Property Management with Ownership Interest
910-0085" Additional Insured Endorsementa.o

940-0946 Falge Pretenses Exclusion

SIG-1100 ‘Signature PageD 0

Item 10. Producer Name and Address:
McGowan Program Administrators:(A Division of McGowan & Company, Ing.

20595 Lorain.Road, Suite.300 _
Fairview Park, OH 44126

910-0912FL 04 16 . Page 2 of2

 

 
  

 

2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 12 of 37 PagelD 16

A.

Zo MMO

FLORIDA MISCELLANEGUS PROFESSIONAL LIABILITY INSURANCE POLICY

TABLE OF CONTENTS

COVERAGE — WHAT THIS POLICY INSURES «ous... ecesseceieeseasstens eeedadesdevsegensereeres pi eireasdencageneonsnen & .

  
 
 
 
 
  
 
  

DEFENSE AND SETTLEMENT (INCLUDED IN THE.LIMIT OF LIABILITY).
LIMIT OF LIABILITY. AND DEDUCTIBLE: seeeetgeessdevueeene
4. LIMIT OF LIABILITY... cecseccececcscesseesstecones

2, DEDUCTIBLE ; ;
3, REIMBURSEMENT ou... ccccsccscovsesyeyessssceaccnvseecenscegsupveccssasecgeuseeseaseegusevtuseeren

DEFINITIONS oo... ce ccccctssscscesessccscssecsestsssatueresessseccecstee esp eeurereer sett -
EXGLUSIONS - WHAT THIS. POLICY DOES NOT INSURE .. seruaehprehescsuseeetbesigyasbeenspecnagscovbahy,
EXTENDED-REPORTING PERIOD............ fetleneneeece ven reer seane bata renee seusdsneedosapsevenseaseanerncesnennecaiueettedy D

DUTIES IN THE EVENT OF CLAIMS) OR'POTENTIAL LCLAIMIS)
CONDITIONS... ;

 

 
 
 

1. CANCELLATION AND NON RENEWAL seuss

2. REPRESENTATIONS AND APPLICATION’, reds tendeeres

3. LEGAL ACTION AGAINST US... cece vesesaseseanses

4, CHANGE IN OWNERSHIP, CONTROL OR EXPOSURE... . . wo 9,
5. “TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TOUS noc. a 9
6. ASSIGNMENT... cccscscssscscnpsseesnatenenee rocecenneteuavesseesedennpeeesues petinestusessaqesvateaseesesssrseneepeaeee 10
7. SOLE AGENT FOR THE INSURED... oqdapecsenlnenseveepesabi gies edeepaghtertessatuitegesanaeneseennnasenns 10
8. COVERAGE TERRITORY AND VALUATION. pi soetemapeessnegee 10.
8.. OTHER INSURANCE... ooo. ccccesccheccecceecsssacblescsstccececncenvcssuesssenssascuassescucn civestalascetetatvastdvsceess 10
10. TWO OR MORE POLICIES, COVERAGE PARTS; OR ENDORSEMENTS ISSUED BY US... 10:
11. ALLOCATION... as fee sons eebeansevedsandidvacessenssuveavavasunggacsnansseeslastdteneedareeesensesere 10
12: SEPARATION OF INSUREDS.. vcssnaeeee besstvectnesegeecsnterthncecentgenshsendgesecusssseqeenectee ney
13, CONFORMANCE TO STATUTE coiccscccscnseueon sesduopegisecnaueconsveseasraneesieeesspesetstensecvstsseverses pee 1
14; SECTION TITLES.......; sty gtegnsneenngyientecaeunnapeatesiedieaduesfeneesona Hespessnevtaseeatineenne 44
15. BANKRUPTCY......... dese ceqiaeeseseases wee V4
16. LIBERALIZATION ........ sevendenSeptcevneeaveceicnaseeteelee fesse deloleceudtescreeesvessneessessves seseseeeeeeesessneccuaseeeess a

 

FOR ANY. INQUIRIES CALL:
‘800-685-5669

 

 

 

 

 
  

_ MISCELLANEOUS PROFESSIONAL LIABILITY INSURANCE POLICY

This is a CLAIMS-MADE AND REPORTED policy. Subject to the. terms, conditioris; exclusions and
limitations of this policy, coverage is limited to liability for. only those claims that are first made against
you and reported to us in writing after the ratroactive date and during the policy period or any optional
extended. reporting period, if exercised by you.

This is a “defense within. limits”. policy with claim expenses included within the limit of liability. The timit
of liability available to pay damages will be reduced by-amounts we: pay for claim expenses as defined in
the policy. Further note that amounts Incurred for claim: expenses and damages: are subject to the
deductible.

Please read this policy carefully.
Throughout this policy; the terms we: us-and our refer to the Company providirig this insurance. The terms-you

and your refer to’ the persons and entities insured under: this policy. Other terms in bold print havé special
meaning and.are défined in the policy.

A, COVERAGE - WHAT THIS POLICY INSURES
1. Professional Services Coverage:
We will pay.on your behaif those sums which you become tegaily obligated to pay as damages and claim

expenses because of any. claim: made against you afising. from a wrorigful act in the rendering of failure
to render professional services by’you.

The:following-additional requirements and tiniitations shall apply to coverage provided under A.1 above-and
A.3. and A.4.below:.

‘a. The wrongful act must have first occurred on or after the-applicable retroactive date(s);

b. You had no knowledge of facts which could have réasofiably caused you to foresee-a claim, or any
knowledge of-the claim, prior to the effective date of this policy; and,

¢. The claim must first be made and reported to us’ in writing durirg-the policy period or any extended
reporting period, if applicable, arid must arise from 2 any wrongful act to which this: policy applies.

2. Disciplinary Proceedings Coverage

We. will pay on your béhalf only defense expenses incurred in responding to a. disciplinary proceeding
commenced against you ard reported to us in writing during the policy period, or which was. commenced
during the: policy period ‘and, if exercised, reported to us in writing during any optional extended reporting
period, The. maximum amount available for defense expenses for a disciplinary proceeding is $25,000
for each policy period, ragardiess. of the number: of: disciplinary proceedings. Any payment made
hereunder shall not be subject to the deductible and ‘shall not reduce: any applicable firiit of frability:
Inclusive within this coverage, we will pay up to $250 per day for any salaries: and expenses of your
employees. required to attend or- participate in any disciplinary proceeding. We shail not pay any
damag¢s incurred as-a result of. disciplinary, proceedings.
3. Personal Injury Coverage

We will pay on your behalf those sums which you become legaily obligated to pay as damages ‘and claim
experises. because of any clalm made against you and reporied.to-us in’ writing during.the policy period,
or any extended reporting period, if-applicable, that arise from your professional-services and are for:

a. your. defamation, libel, slander, product disparagement, trade libel, infliction of emotional distress or
other tort related to disparagétiient-or harm to the- reputation or character of any person-or entity:

b.  your-invasionor interference with the-tight to ‘privacy or publicity, including but not limited to false light,
publi¢ disclosure of private facts, intrusion and invasion; or
¢. your causing a third party to be subject to false-ariest, detention or imprisoriment.
4. Technology Professional Coverage

We will pay on your behalf thase sums.which you become legally. obligated to pay.as damages. and claim
expenses because of any claim arising from your professional-services arid made against ary insured
and reported to us in writing during. the policy ‘period, or any extended reporting period, if applicable,
-that arises from:

FL-910-0001 12 09 Page 2 of 14

 

 

e 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 13 of 37 PagelD 17
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 14 of 37 PagelD 18

  

a. the-inability of an authorized third party te gain.access to:computer services;
pb. unauthorized access to computer services that-results in:

1}. the:destruction, deletion or corruption of electronic data on computer services; or

2) :denial of service attacks against computer.services of transmission of malicious code to.computer

services, .

Bi DEFENSE AND SETTLEMENT {INCLUDED IN THE LIMIT OF LIABILITY)
We haye the right to investigate and the exclusive right to defend any claim made under this:policy, even if
the allegations :are groundless, false or fraudulent until there is a finat adjudication against:you: We dre. not
obligated to defend any criminal investigation; criminal proceeding or prosecution against you. Ifa clalmis

not covered under this policy, we will haye.no duty to.defend it,

Payment of claim expenses. wil reduce. the amounts available-to pay damages. Our duty to defend any
claim or pay any amount as damages or claim expenses will cease when our limit of liability has been:
exhausted: Upori exhatistion of the limits of liability, we will tender control of the defense to ‘the named
insured. The-named insured agreés to accept this: tender of defense.

We: will not-settle a-claim without the consent of the named insured, If the named Insured refuses to.
consent to.a settlement we récommend arid which.a claimant would accept, then our Jiability for the claim.witl
not-exceed the amount for which we would:have been liable for damages if thé claim had been settled as.
recommended by us and acceptable.to'the claimant, including clainy expenses incurred up to the date of the.
named insured's refusal, After the time of the. Ramed insured's refusal, the named insured shall be
responsible for all damages’ in excess of the. aiviount for which the claim could havé- been’ settled, and all
claims expenses incurred thereafter, For the pufpose of this séction, settlement includes biltds not limited to
any resolution of a.claim that would have occurred as a result of-any court-ordered process.which the named
insured chose not to accept. ;

The named insured is responsible for any.fees or costs charged by. a lawyer defending you or any other

defense expenses incurred without our written consent.
Cc. LIMIT. OF LIABILITY AND DEDUCTIBLE
1. LIMIT OF LIABILITY

The fimit of liability per claim limit shown on the Declarations page'liem 3.a.is the most we will pay for the

sum of: all damages’ and. claim expenses arising out of a single claim or a series of related claims,

regardless of the number of persons or entities insured under this policy, number of claims made or the-
humber of persons or entities. making claims during the policy period or during any extended reporting
period, if any. ‘

The Aggregate limit showA on the Declarations Item 3.b.is the most we will pay for the sum of alt

damages and claim expenses for ail clalins ‘ufider this policy: ‘

2, DEDUCTIBLE .

a: You will pay the deductible amount shawn in the Declarations. The deductible applies to each Siaim,
We will not be required to make any payment for claini expenses, settlements reached, or
judgments rendered in an etherwise covered claim unless and until. you have paid the deductible in
full. You.must pay thie deductible (i) ‘immediately when invoiced -or, (ii) in the evetit that offers of
judgment or settlement demands are miade-which you arid we agree ‘should be accepted, prior to-the

expiration of the time pericd-for responding to such offers.ordemands.
b, All claim expenses will first bé subtracted ‘from the limit of liability, with the remainder, if any, being
the amount available to pay for damagés after you have paid'the deductible in paragraph a.
c. If you and we agree to use mediation to resolve any claim brought. against you.and if the claim is
resolved by mediation, your deductible obligation for that clainy will be reduced. by 50%.
3.. REIMBURSEMENT ;
In the event that we voluntarily choose or are compelled ‘by 4 court of-law-fo make: any payment of the
deductible and request reimbursement from you, the reimbursement is payable immediately, but no. later
than thirty (30) days after written-demane.
D. DEFINITIONS.
Bodily Injury means physical injury, sickness or disease and, if-arising out. of the foregding, mental ariguish,
emotional distress, merital injury, shock; humiliation, or death at any time.

FL-910-0004 1209 Page.3. of 14

 

 

 
   

Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 15 of 37 PagelD 19

Claim mearis'a written demand-or suit you receive.
‘Claim expenses means ail expenses we- incur. or authorize in writing for the investigation, adjustment,
‘defense or appeal of.a claim, These:expenses include fees charged by-a lawyér, mediator or arbitrator with
out consent for which you are.obtigated. Claim expenses also mean:
4. the:premium oni appeal, attachirient-or similar bond; ‘and
2. up to $250 per day per insured for supplemental payment: for reasonable expenses incurred far
attendance at hearings, trials, or depositions. at our request-or with our cansent by such insured:
Such paymént shall not exceed $5,000 in the:aggregate for all insureds in each claim.
Claim expenses do not include:
1. salaries, wages, fees, overhead-or benefit expenses associated with any insured. except as specified
in-subparagraph 2. above; or
2. ‘salaries, wages, overhead or benefit assdciated with our employees.
Company. means the insurance company that issued this: ‘policy, as shown on the: Declarations pagé or
reférred to herein as we, us, or our, :
Computer services means computers and-associated. input and output devices, data-storage devices,
networking equipment, backup facilities, and interiét sites operated by arid either owned by or leased- by any
third party for whom you provide professional services.
Damages means monetary judgments, awards or settlements unless otherwise. excluded. Damages
includes (i)pre-judgment interest; and: (ii) post judgment interest that accrues after entry of judginent and
before we’ have paid, offered to pay of deposited in court. that part-of judgment-within the applicable limit of
liability.
Damages :does nat-mean punitive or exemplary damages or the multiple portion thereof,
Damages. do not include any costs or expenses in complying with.any demand. for.or, award of equitable
relief, even if such compliance is compelled as'a-resull-of a judgment, award or settlement. \
Defense expenses means all expenses you incur in investigation, defense or appeal of any disciplinary
proceeding. m
Disciplinary proceeding means. any proceéding by a disciptinary official or agency to investigate or
prosecute charges alleging professional misconduct in the performance of your professional services.
Employment practices means any-actual or alleged:- .
1. wrongful termination of the employment of, or demotion of, or failute-or refusal to hire or promote any
person in violation of law or in-breach-of any agreement:to commence or.continue emplayment::
2. unlawful emplayment disérimination; *:
3. ‘sexual harassment ofan employée or applicant for erriployment: of
4, fetaliatory treatment agairist an employee on account: of that employee's exercise -or, altempted.
exercise-of his or her rights underlaw. ~
Equitable refief means a remedy natinvolving the:payment-of monetary damages.
Extended reporting period means: an additional period of tinie- for reporting claim(s}. The extended.
reporting period Starts on the policy termination date and ends at the extended reporting period
expiration date. .
First inception date means the inception date of the first Miscellaneous Professional Liability policy issued
by-us to the. named insured and contiriually reriewed:by.us until the inception daté of this current policy.
Insured means:
4.. the.named Insured: and: .
2. if you are @ Sole propriétorship, any past or present-employee of yours, but only while acting on your.

behalf intheir capacity as an employee,

3. if you-are'a- partnership, any past or present general or managing partner,. principal or employee of-
-yours, but only white acting.on your behalf in such capacity:

4, if you-are’a Jimited liabitity company, any past or presént managing member, principal-or employee of
‘yours, but.only white acting on your behalf in such capacity: —

“FL-810-0001 12:09 Page 4 of.44

 

 
19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 16 of 37 PagelD 20

5. if you grea corporation, any past'or present officer, diractor, trustee, or employee of yours, but only
while acting on your. behalf in such capacity:
. §. your temporary or leased employees, but only while acting on your behalf as an employee;

4. if you are a subsidiary of the named insured, you are only covered while acting on. behalf of the
named insured;

8. your lawful spouse solely for liability arising fromm any wrongful act of an insured committed. without -
the participation of such ‘spouse: .

9. your heirs, assigns and lagal representatives in the event of your death, incapacity or bankruptey to-
the extent that-you would have been covered: or; .

49. an independent:contrastor for claims .and damages under Section A.1,.3, or 4; but only while. acting
on your behalf and only. if there is 4 signed agreement executed, by the named insured and the
independent contractor which:
a) Specifies the services to be performed by the independent contractor on the named insured’s

~ behalf.
b) provides that the senices performed by the independent: contractor will be under the named
Jnsured’s supervision:
-¢) states that the independ ent contractor wil! be indemnified by the named-insured for the services
performed on the named insured’s: behalf: and; ,
d) is entered into before the wrongful act which leads. to’a claim or potential claim.
Loss means claim-expenses, damages and defense expenses and doesnot inckide equitable relief,
Malicious code means any virus, trojan horse, worm or similar software program, code ‘or-script intentionally
designed to insert itself into computer memcry.
Mediation means the non-binding intervention of a qualified neutral third partly chosen by you-and-the other
party to.a claim with-agreement by us.
Named insured means the individual, entity, partnership, or corporation designated as ‘such in the
Declarations page.
Policy means this: policy form, the Declarations, and ‘any endorsement tothe policy issued by us, ahd your

application, including ail. supplements.

Polity period. means the period from the effective date of the policy to-the expiration: date or earlier
termination date of the policy. : ,

Policy termination date means the expiration date of the policy as shown on-the Declarations. page or thé
cancellation date of the policy, whichever is earlier.

Pollutants méans any solid, liquid, gaseous. or thermal irritant or contaminant, including smoke, vapor, sol,
fumes, acids, alkalis, chemicais and waste. Waste includes materials to be recycled, reconditioned -or.
reclaimed.

Potential claim means any wrongful actor any facts or other circumstances which May subsequently give
tise 1o.a. claim.

Professional services: means those services described in Item 6. of the Dectarations which you perform for
others for a fee.

Property damage means (1) physical injury to, loss or destruction of, tangible property including the resulting

loss Of use thereof; or (2) loss.of use“of tangible property which fias-not been physically injured or destroyed.
Retroactive date(s) refer to the dates shown in item 5," of the Declarations. if no date is shown on the

Declarations page:the retroactive date will be-inception date of the policy.

Subsidiary means

1.. any Corporation, identified ‘by you in the application for this policy, of-which the named insured owns more,
than fifty. percent (50%) of the issued and cuistanding voting stock either difectly or indirectly on the inception
date of the policy period; or

“2. ‘afly.corporation which becomes a-subsidiary during the. policy period provided ‘that such corporation does
nol represent more than a ten percent (10%) increase.in the total assets or gross revenue of the named
insured as of the date of the acquisition. Where such corporation represents. ari increage in the total assets
of gross revenue of the named insured of more than ten percent (10%), such corporation shail be-deemed a’

 

FL.-510-0001 42 05 , Page 5 of 11

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 17 of 37 PagelD 21

  

subsidiary under the policy, but only upon the condition that within ninety (90). days of its becoming a
* ‘subsidiary, you shall have provided: us. with full particulars of the new subsidiary and agree to any
additional premium.and/or amendment of the provisions of ‘this: policy required by us relating. to-such new
Subsidiary, subject to. the review and acceptance by-us .of full -and- cOmpleté underwriting information.
Further, coverage as shall be-afforded tothe new subsidiary is conditioned upon the named insured paying
when due any-additional premium required by- us relating to such new subsidiary. -A corporation becomes a
subsidiary when the named insured owns more ‘than fifty percent {50%) of the issued-and outstanding
‘vating stock either directly or indirectly, and. ceases to be a subsidiary at ‘such timé when thé named
insured ceases to own more than fifty percent (50%) of the issued and outstanding voting.stock.
“Suit means: a civil proceeding for monetary; non-monetary or injunctive relief, which is commenced by service:
of a complaint or similar pleading: ‘Suit includes.a binding arbitration proceeding.in which damages: are alleged.
and {fo which you must submitior do submit with our consent:
Unauthorized access means the use of or access to computer systems. by a person not authorized to-do so by
the Named Insured; or the use or access to: compuiter systems in a manner not authorized by. thé naméd
insured. ,
Wrongful act.and wrongful acts means any actual or alleged negligent act, error; omission, or misstatement-
committed, in your professional services.
‘E. EXCLUSIONS - WHAT THIS.POLICY DOES NOT INSURE
This policy does riot apply to claim(s}
‘1. based upon, arising out.of, or ih any way. relating directly o7 indirectly to any insured:
a) committing aAy intentional, dishonest or fraudulent actor omission; or
b) gaining any profit; remuneration or advantage to which such Insured was not legally entitled,
provided that-this exclusion will not apply until a final adjudication establishes a).or b) above.
for any willful or criminal violation of any statite; rute'or flaw,
for the return, restitution or reduction of professional fees or arising from any ‘demand for equitable relief,
arising out-of bodily injury or property damage;
arising out of: :
a) any purchase; sale,.or oifer or solicitation of an offer fo purchase or sell securities.
b) any violation of any securities law, including the Securities Act of 1993, as amended, or the Securities
‘ Exchange. Act of 1934, as arnerided, or any regulation promulgated under the foregoing statutes, or
any’ federal, state or focal laws similar tothe foregding statutes (including “Blue Sky" laws), whether
such law is statutory, regulatory or common law; or
c} any Violation of the Organized Grime. Control Act of 1 970 (commonly known as Racketeer Influenced
And Corrupt Organizations. Act; or “RiICO"), as amended, of any regulation promulgated thereunder or’
any federal, state or focal law similar to the foregoing, whether such law is Statutory, requfatory or
_ commen law;
6. arising-out-of any. breach of fiduciary duty, responsibility; of obligation in corinection with any employee.
benefit or pension plan, including violations of the rasponsibitities, obligations. or duties imposed upon
fiduciaries by the Employee Retirement Income Security Act of 1974 (“ERISA”), as amended, or similar.

Statutory or cornmon law of the United States of America ‘or any state orjurisdiction therein;

7. arising out of any employment practices: liabitity or any discrimination on any basis, including, but not
limited fo: race, creed, color, religion, ethriic background, national origin, age, handicap, disability,
gender, sexual orientation or pregnancy;

8. arising out of any misappropriation or misuse of trade secret or inftingement.of patent, copyright,
traderniark; trade dress or any other intellectual propery right:

§. arising out-of false advertising, misrepresentation in advertising, antitrust, unfair compatition, restraint of
trade; unfair or deceptive business practices, including but not limited to, violations of any local, state or
federal consumer protection Kaws; :

10. against you that are brought by:or on behalf of any Jederal, state or local government agency or professional

. or trade licensing ‘organizations; however, this exclusion shall not apply where the claim is. alleging a
wrongful act in your rendering professional services to such entity orfora disciplinary proceeding;

“ee NS

FL-910-0601 12 09: : Page.6 of 14.

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 18 of 37 PagelD 22

  

14. arising.out of liability you assume under any contract-or-agreement; however, this exclusion does. not
* apply to liability. you would have in the absence. of such contract or agreement:.
’ 12. against you that are. brought by or on behalf of:
a) any business enitity.that is owned, managed or operated, directly-or indirectly, in whole or.in. part; by
you,
b} any ‘parent company; subsidiary, Successor oF assignee of yours; or anyone afi lated with you or such
business entity through common majority ownership.or control: or.
¢) any independent contfactor supplying material or services to you;
13, arisirig-out of disputes involving:
&) your fees:or-charges, including over-charges, or.cost over-runs;
b) collecting your fees from third parties:

cs) the-return of fees ar other compensation paid to' you; oF
d) your cost-of correcting or ré-performing or completing any professional services;

14, arising.out of your advising, requiring, obtaining or-failing to advise, require-or obtain. any bend,-suretyship or
other form of insurance; ,

‘15. arising out-of or resulting, directly-or indirectly, from:any actual or alleged commingling, misappropriation or
improper use of funds or menies

16. arising out of.a.claim by any.insured under this policy agairist any other insured under this policy.

‘17. arising.out-of the actual, alieged. or thréatened discharge, dispersal, seepage, migration, release or
escape of pollutants at any time.
F. EXTENDED REPORTING PERIOD
1. You will be entitied to.an automatic extended reporting period for no additional premium. This
extension is applicable to any claim made agairjst you-during the policy period and reported to us in
writing, during the sixty (60) days immediately following the policy termination date..
2. We.will provide-an optional extended reporting period as described: below:

a) lf this policy is canceled, terminated or-non-renéwed, you shall have the right, upon payment of an
additional premium, to an. extension of the reporting period for any claim against-you. first made. and
reported after the date upon'which the policy period ends, but only with respect to wrongful acts
committed prier fo the end of the policy period-and otherwise’ covered by this policy. Such period

shall be referred to as the optional éxtended reporting period.

1) The available optional extended reporting periods and. additional premium are determined in
accordance with the-rules, rates and rating plans we then have in effect in your state..

2) You must. request the optional extended reporting ‘period in writing and must pay us the
additional premium within 30 days following the date of such cancellation, termination or
ronrenewal. If we do not receive your request and premium payment within 30 days following the
date .of such cancellation, termination or -non-renewal, your right to. purchase the optional.
extended reporting period shall cease.

3) if-we cancel for non-payment of premiurn, you may purchase the optional extended reporting,
period only after any earned premium dué us is paid within 10 days after the date. of caiicellation.
or policy expiration, whichever comes first,

b) Alt premiums paid for‘dn optiorial'extended reporting period shall be. deemed fully earned as of the
first day of the optional extended reporting period. The-optional extended reporting period may

not be-canceled. .

c) The optional extended. reporting period shall not iherease any limits of jiabilily. stated in ttem 3. of
the Declarations page. For the purpose’ of policy limits, the reporting periods. are part ‘of; not io
addition to, the policy period.

G, DUTIES IN THE EVENT OF CLAINM(S) OR POTENTIAL CLAIM(S)

1, If you receive @ claim, youand any other involved insured(s) must see to it that we receive written
notice of the claim, with fult details including the date ‘receivéd, as:soon ‘as practicable, but in no event

laterthan ‘80 days after such claim is first made,

FL-910-0001 12 08 Page 7 of 41.

 

 

 
ase 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 19 of 37 PagelD 23

  

’ 2, You and-any other involved insured must:

a) Immediately send us copies of any demands, notices, summonses or egal papers received In

‘ connection with the.claim; ,
b) Authorize us to obtain records and other information;
c} Cocperate with us in the investigation; defense or settlement of the claim; and.
d) Assist us, upon our request, in the enforcement-of any right against any person or entity which may

be liable to.you because of damages to which this insurance may apply.

3. No inSured will, except at that insured’s own cost; voluntarily make payment, assume any obligation,
agrée to a séitlement or incur any expense related to‘a.claim without our consent.

4. If during the policy period, you become aware of a wrongful-act or any: facts. or: other circumstance that
-occurred ort or after.the retroactive date but prior to the end of the poticy perlod, which may reasonably
be-expected ta subsequently give rise to-a claim against you, you. must give us wtitten'notice as soon as
practicable, but in any event not later than the end of the policy period Gr any extended reporting
period, ifapplicable, To the-extent possible riotice should include:.
a) Where-the wrongful act took place and any facts or circumstance concerning the wrongful act; and:
-b) The names and addresses of.any persons and entities involved,

5. Any claim arising out of the' wrongful act, facts or ciicumstance which is subsequently madé-agairist you

shali be deemed to have been fifst mada at the time we received such written notice- from you, if we

‘Teceive proper notice of the potential claim according. to. paragraph 4. above.

‘The date of maiting shall constitute the date that such notice was given and:proof of mailing shall be

sufficient proof of notice. .

H. CONDITIONS
1, CANCELLATION AND NON RENEWAL
a) We may not cancel this. policy except-for failure.to pay preniium when due, in which case we will give
; 10.days written notice to the-named insured before such cancellation is effective.

'b) The named insured may. cancel this policy for itself.and. all other insureds by written notice to. us
Stating when thereafter the cancellation stall be. effective. If the named insured cancels, we will
return 90% of the pro fata uneamed premium, rounded to thé next higher whole. dollar within 15 days
of the efféctive date. of cancellation. :

c) We aie not required fo rénew this policy. However, written notice of our intent to non-renew this
policy shall be-sent to the haméd ‘insured at least 60 days prior to expiration-of the policy. period.

@) Notices of cancellation or nonrenewal shatl be sent by first-class mail to the last-address known:to us
with a statement of the specific reasons for cancellation or rionrénewal.

e) If we decide to offer renéwal terms, notize will be mailed. by'first class mail, at least 45. days prior'to
the expication of the policy to the named insured.. Failure to make the required premium payment
by the renewal date will result in termination of the policy for nonpayment of premium. .

f) If we fail to provide at least 45 days notice of nonrénewal or changes in the terms. and conditions of
this: policy, coverage.will remain in effect until 45 days after notice is given: or until the effective date
of replacement coverage you obtain, whichever-occurs first: Any earried premium for the extension of
the‘terniinated policy. will’be calculated pro rata’ based-on the expiring premium-or the rate filing then
in effect, whichever slower. ,

2, REPRESENTATIONS AND APPLICATION

By accepting this policy you agree that; &.

a) The statements in the Declarations are accurate and coniplete:

b) Those statements are based on representations you made in your application for this. insurance
policy;

¢) The representations made in. your application are the basis of this poficy and are to be-considered.
‘as incorporated into and constituting ‘a part of this. policy;

d} Those representations are material to the acceptarice of the-risk we assumed under this policy;

FL-910-0001 12.09 Page.8 of 11

 

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 20 of 37 PagelD 24

  

6) ‘We have issued this: policy in. reliance- upon the truth, accuracy and completeness of such
“ -  sepresentations;

f) The application shail be interpreted ‘as a separate application for coverage by each insured: No
statement in the application, fact pértaining to or Knowledge possessed by any insured shail be:
imputed to any other insured forthe purpose of determining ‘if coverage is avaliable; and

g) Statements in the appiication, facts pertaining to or knowledge possessed by the individual signing
the application shail be imputed to.the named insured, ©

3. ‘LEGAL ACTION AGAINST US
No person or entity has a right under this policy:
4). To join.us:as a party or otherwise bring us into a.suit’asking for damages from an‘insured; or
b) To-sue us on this policy unless all of its terms: have been fully complied with.

A person or entity. may sue us to recover.on an agreed settlement or on a final judgment against an
insured; but.we will not be liable for damages that.are not.payable under the terms of this ‘policy or that
aré in, excess of the applicable ‘limit of [ability. An-agreed settlement means a-settiement and release of
liability signed by us, the insured and the. claimant or-the.claimant's legal representative,
4. CHANGE IN OWNERSHIP, CONTROL OR EXPOSURE.
a) Ifduring the policy period:.
1} Another person or entity or group of persons or entities acquires moré- than 50. percent of the
assets of the named insured: or
2) Another person or entity, or group ‘of. persons. or entities, acquires an amount of the: Outstanding
securities representing more ‘than 50. percent.of the voting power forthe election of the named
insured’s directors or trustees; or
3) The haméd insured, consolidates with or merges with another entity;
you shall notify. us of the change .described in 1., 2., or 3. ‘above, herein referred to as
transaction, as soon as practicable; but- not later than 30 days after the effective date. of the
transaction-and provide such additional information as we require.
‘b) . If atransaction: occurs, coverage..under this policy shall continue until. termination of the policy
period but:only with respect to claims and potential claims: made for wrongful acts which took
place’prior to the transaction,

c) If you fail to provide notice as described in 4.a. above, coverage provided to you under this policy

‘shall terminate, We will send written notice 45 days in advance of the termination date,

d) In the event of a transaction, the named insured will have the right fo.an éxtension of coverage
under the policy. for a claim first made and reported during the 12 months after the transaction but,
only with respect to any wrongful act occurting prior to the transaction and otherwise covered by-
this policy, The 12 month period shall be referred:to as the run-off period:

4) The-premium means the premiurt-in effect immediately prior to the transaction.
2) The rights contained in paragraph 4, shall terminaté uriless written notice of the election: and the.
additional premium die is received by us within 60. days of the transaction:

€} In the event of a transaction, the named insured has the, right to purchase. the run-off period but,.
has no. tight to. purchase the optional-extended reporting: period described in section F. of the
policy.

f} ‘The additional premium for ‘the run-off period shall be fully earned atthe inéeption: of the run-off
period, The run-off period is not.cancelable.

g) The limit of fiability for the-run-off period is part of and not in addition to the limit of liability in Item 3. of
the Declarations page: -

5. TRANSFER OF RIGHTS OF RECOVERY. AGAINST OTHERS TO US

if you have rights. to recover all-or part of any payment-we have made under-this policy, these rights are

Wansferred to us. You must-do. nothing: after a loss fo impair our rights to seek or obtain recovery from

othérs. At ‘our requést, you. will sue those Tesponsible or transfer those. rights-fo us. and hélp us enforce

them. in the event of any payment. under this. Policy, we. shall be’ subrogated -to. the extent of such
payment to all of your rights of recovery. You shall execute and deliver such instruments and papers and

FL-910-0001 12°09 Page 9 of 11

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 21 of 37 PagelD 25

  

‘do whatever else is necessary to secure such fights and shail do nothing to prejudice or compromise
»  ‘Suctrrights without our express written consent.

6, ASSIGNMENT .
No change in, modification of or assigriment of interest in this policy shall be etfective except when made
by a written endorsement to thé policy. ,

7,. SOLE AGENT FOR THE INSURED
By accepting this policy, you agree that only the. named insured is- authorized. to act on behalf of-ail
insureds with respect to the following: consenting to settlement or releasing rights. under this policy;
‘payment, for premiums and deductibles, receiving return premiums, giving or receiving notice of
cancellation. or nonrenewal,. requesting any optional extended reporting period or run-off period and
agreeing to any changes in this insurance policy.Each insured agrees that the named. insured-shall act
on its or their behalf with respéct to:such matters.

8 COVERAGE TERRITORY AND VALUATION

a) This: policy applies fo a wrongful act committed anywhere in the world provided. that the. claim. is
made. and ‘suit is brought against the. insured within the United States; its tercitories or possessions or
Canada.

b} All/premiums, limits, deductibles, loss and-other amounts are expressed and payable. in the currency
of the United States of.America. (f a judgment is rendered, a settlement is denominated of ariother
element of Joss. under this policy is stated in a-currency other than the United States: of America
dollars, payment under ‘this policy shall bé made in United States of America dollar equivalent
determined by the rate of exchatige published in:the Wail Street Journal on the: date the judgment
becomes final, the amount of the seltiement-is agreed upon or any’ element of loss is due,
respectively.

9. OTHER INSURANCE

a) If other valid and collectible insurance is available to you for loss covered ‘under this policy, the
insurance. provided by this policy shall be excess over such other‘insurance, regardless of whether
ornot such insurance is primary, cofitributéry, excess, contingent or otherwise.

b) When this insurancé is excess we haye no duty to defend. you against any claim if any other insurer
has a-duty to defend you against the claim. If no other insurer defends we will undertake to do so but
‘we-.will be entitled to your rights against those other.insurers.

¢) Wher this insurance is-excess over other insurance we will pay only our share of the amount of loss,

' ifany, that exceeds the-sum of: ,
1) The. total amount that-all such other iAsurarice would pay for the loss in the-absence :of this
_ insurance; ,
2) ‘The total of all deductibles, self-insurance and retentions under.all that-other insurance.
We-will. share the remaining loss, if any,-with any other insurance that is nat deséribed in this provision

and was not bought specifically to apply in. excess of-the limit of liabitity shown inthe Declarations page ‘of
this. policy, Se ,
10. TWO OR MORE POLICIES, COVERAGE PARTS, OR ENDORSEMENTS ISSUED BY US
It.is dur stated intention that this policy and any other policy, coverage part or-endorsement issued by
us, or by another member.of-the company, shail not provide duplicaticn oF overlap of coverage for the
same Claim. If this policy and any other poticy issued by us, or by another membet of the company;.to
you, apply to the same claim then, Condition 9. Other Insurance notwithstanding:
a} We shall not be fiable under ‘this policy fora greater proportion of the loss-than the applicable fimiit of
liability of this policy bears to.the.sum of the-total limits of lability ofall such policies: and
b} The maxirium amount payable under. all, such policies combined shall nof exceed the highest
applicable limit of liability under any one. policy.
fi, ALLOCATION
lf you incur both loss covered by this policy and loss not covered by this policy on account of any.
clairn because such claim includes both cavered!and non-covered. matters, coverage with respéct-to
such claim shall apply as follows:

a) 100 percent of defense-expenses. on account.of the claim will be Gonsidered covered loss: and

FL-919-0007 12 09 Page 10 of 11

 

 
2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 22 of 37 PagelD 26

b} We:stiall fairly allocate-all remaining Joss that you incurred on account of'such clair between
’ covered loss and non-covered loss.
12. SEPARATION OF INSUREDS.

Except with respect to the lirnits of liability, ‘deductible: arid any fights or obligations assigned to the first
named insured, this insurance applies:

a} Asif each insured were the only Insured:.and
b} Separately to each insured against whom a claim is made.
13. CONFORMANCE TO STATUTE

The terms-of this policy which are in conflict with the statutes of the state in Which this policy is issued
are amended to conform to those statutes. :

14; SECTION TITLES
The filing of ‘sections and paragraphs withifi this. policy. is: for convenience only and shall not be
interpreted as a term-or condition of this policy.
45. BANKRUPTCY
You or your estate’s bankruptcy orinsolveney does not relieve us.of our obligations under this policy.
46; LIBERALIZATION

if we adopt any revisions to-the ferms and conditions of this policy. form fo provide moré covéragé
without an additional premium charge during the policy term, the broadened coverage. will immediately
apply. However, thé broadened. terms and conditions-will not apply to any claims: that were first made
against you prior to.the effective date-of the revision.

 

FL-910-0001 1209 Page 11 of 13

 

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 23 of 37 PagelD 27

      

Insurance Group.

__-&LS. TREASURY DEPARTMENT'S
OFFICE OF FOREIGN ASSETS CONTROL ("OFAC")

ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by-this policyholder-notice nor can it bé construed to replace any provisions-of your
policy, You-should read your policy and review yout Declarations page for complete information on the-coverages
you are provided. ‘ ,

This. notice provides information concerning possible impact on your insufance:coverageé dus to directives issued.
by OFAC, Flease read this notice carefully.

The Office of Foreign Assets Control (‘OFAC’) administers and eriforces sanctions policy, .based on-Presidential
Declarations, of National Emergency.

OFAC has.identified and fisted numerous-foreign agents, front organizations, terrorists, terrorists organizations,
and narcotic traffickers as."Specially Designated Nationals-and Biocked Persons”. This tist-can be located on the-
United States Treasury's web site: hitp//Awww.treas.gov/ofac.

In accordance.with OFAC regulations, if it is determined that you or. any other insured, or any.person or entity
claiming the benefits of this insurance has violated.United States. sarictions law of is a Specially Designated
National and Blocked. Person, as identified by OFAC; this insurance will be considered a blocked or frozen
contract‘and ail provisions of this insurance-are immediately subject to OFAC. When an insurance policy is
considered to be such a blocked or frozen contract, no.payments-nor premium refurids may be madé-without
authorization from OFAC.

Other limitations on the premiums. and payments, also-apply. :

-401-1268;08 12 Page 1 of 1

 

 

 
2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 24 of 37 PagelD 28

CONSENT TO SETTLE AMENDMENT
_ ENDORSEMENT

THIS ENDORSEMENT CHANGES. THE POLICY. PLEASE READ IT CAREFULLY.

 

“Named Insured: Hayden & Associates, Ine; (DBA Hayden Real Estate, LL Policy Number: LHW.A974690-02
issued by The Hanover Insurance Company:
This endorsement, Effective 12:01-A.M: 08/10/2018 riodifies the following.

SECTION. B. — DEFENSE AND SETTLEMENT (INCLUDED IN THE LIMIT), third Paragraph, is replaced with the.
following:
We ‘will not séttle a claim withoilt the consent of the: named insured. if the named insured refuses-to
consent toa settlement of ‘any claim we recommend and. which a claimant would accept, subject to the
applicable limit. of tiability and deductible then our liability for the-claim is limited to: -
1. What we would have coritributed to the sétilement if you had: consented to the -setliement, including
Claim expenses incurred up to the date. of such tefusal; and:
2. Seventy (70%) percent of such.damages in excess of the amount for which-ihe claim could have
been setited.
After the time of the named irsured's refusal, the nimed insured shall be responsible for all loss in excess
of the amount for which. the claim could have been-settled, the: percentage of damages noted above in 2.,
and ail claims-expenses, incurred thereafter. For the purpose: of ‘this section,. settlement includes but is- not
limited to-any resolution ofa claim that would have occitrred as a result of any court-ordered process which
the named Insured chose not to accept. |

All other terms and.conditions remain urichanged.

910-0018.03 10, Page 1 of 4

 

 

 
ase 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 25 of 37 PagelD 29

  

EXCLUSION - REAL ESTATE AGENT SPECIFIED SERVICES.
’ THIS ENDORSEMENT CHANGES: THE POLICY, PLEASE READ IT CAREFULLY.
Named:Insured: Hayden & Associates, Inc: 0 DBA Hayden Real-! Policy’ Number: tHw A974690-02
Issued’ by The Hanover insurarice Company:
This efidorsement, Effective 12:01 A-M. 08/10/2018 modifies the following:

A, The following is added to ttem 6. of the Deciarations:

Advice given. or services performed by an insured for others. as a real estate agent, but solely wher such.
services are performed on behalf of an insured as.a real estate agency’ and provided that the insured’is

appropriately licensed by the state in which the-:insured is doing business.

B, The following is added to SECTION 0 ~ DEFINITIONS:
Real estate agency means an entity doing business. for compensation inthe selling, leasing or marketing of
commercial or residential real estate.
Real estate agent means an insured doing. business as either an agent or-broker in-the sale-or leasing. of
commerciai or residential real estate. .
Real estate agent shall also mean real astate referral agent, real estate personal assistant, a notary public,
of a member of a formal real estate: accreditation, ‘standards review or cther similar real estate board or
committee.

C. The following is added.to SECTION E — EXCLUSIONS.— WHAT THIS POLICY DOES NOT INSURE:
This policy does not apply to clain(s):
Based upon or arising out-of;
a} Any conversion of improper use of property:
b) The insured’s inability or refusal to pay or-collect premium,.ortax monies:

‘¢) Any promises, warranties, representations, or guarantees made by the insured as to the cutrent or future
value. of any. property:

a) Any promises, -warranties, representations, of guarantees ‘as the Suitability of the property for a specific
use;

‘e) The formation, syndication, operations. or administration of: any property syndication, or real estate
investment trust:to-any other form-of corporation, general of limited partnership or joint venture formed for
the purpose of. investing in, selling ‘or mairitaining. real property including those. syndications, trusts;
corporations, partnerships. or jaint ventures in. which. the insured has, had or intended fo have a
participating interest directly or indirectly inthe profits or losses thereof, ‘or

f) The purchase of properly by, or the sale of property devéloped, constructed or éwned:by”

1) An insured at the time of the wrongful act giving rise to such claims;

2) Any. entity in which the insured had, at the time of the wrongful ‘act giving. rise to the claim, a

financial interest-or a coritemplated financial interest, .

3) Any entity which had, at the time of the wrongful act giving rise to-the claim, a financial interest in
the riamed insured: or

4) Any entity which, at.the time of: the wrongful act giving rise-to the: claim, was: under the same

fifidncial control 4s the named insured: or
g} Asbestos or lead, Whether or fot the asbestos..or fead was at any time: airborne as a fiber, ‘particle or
- dust; contained in or formed a-part of a product, structure, or éther raal-ar personal property; carried on
clothing; ingested or inhaled or transmitted in any fashion; or found in any form whatsoever:

Altether terms:and conditions remain unchanged.
910-0084 02 12 Page 1 of 1

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 26 of 37 PagelD 30

  

NOTICE TO POLICYHOLDERS:
MISCELLANEOUS PROFESSIONAL LIABILITY INSURANCE

' INFORMATION REGARDING EXTENDED
REPORTING PERIOD ENDORSEMENT

(ERP COVERAGE")

The.enclosed policy provides coverage for claims reported during-the policy period. Subject to
the policy's terms. and conditioiis, you may purchase an Extended’ Reporting Period.
Endorsement, also known as "ERP coverage”, that will extend the time for reporting ‘claims
arising out of professional services rendered while the policy was still in effect, although the
. policy may have been cancelled, nonrenewed, or terminated. Please refer to- Section F. of
your policy for the: teriis arid conditions for eligibility, purchasing or obtaining an Extended

Reporting Period endorserrient. Thereis‘a limited time for requesting such an éndo’sement.

‘The premium charged for the endorsement is expressed as a percentage of your policy's
annual premiuin.

 

 

 

 

 

 

Length of “ERP. Coverage" Offered "ERP Coverage" Premium _
. 12:monihs 100 % of expiring annual preraium
24 months 150 % of expiring annual premium:
36 months. / ___ 200 % of expiring annual premium

 

 

“Extended Reporting Period Endorsements may.be subject to state regulatory requirements,

Please contact your ‘agent or Cclistomer service representative for pricing specific to your
‘situation and location.

‘910-0140 10-11 ” Page 1 of 4

 

 
  

e 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 27 of 37 PagelD 31

FAIR HOUSING ACT COVERAGE
THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY:
Named insured: Hayden & Associates, Iné, 0 OBA Hayden Real Estate, | Policy Nurfiber: LHW .A974690-02.
Issued by The Hanover Insurance.Company.

This. endorsemient, Effective.42:01 A.M, 08/10/2018 moditiés the following:

A. The following is added to SECTION.A - COVERAGE — WHAT THIS POLICY INSURES:
Fair Housing Act Coverage
We will._pay-on your behalf damages and claim. expenses: because of any claim atising out of your

professionals services and made against you for violations of the Fair Housing Act. of 1968, 42 USCS §
3601, et.seq, (as amended) (‘Fait Housing: Act’) and reported to us‘in writing during the-policy period, or any
extended reporting period, if applicable: °

Our aggregate Limit of Liability for damages: and claim expenses for all Fair Housing Act violation
claims covered under this endorsemient, during thé ‘policy: period, is $250,000.

which amount-will be included.within, and not in addition to, the aggregate Limit of Liability set forth in
tem 3.6, of the Declarations. ‘

B. The. folowing is.added to SECTION E - EXCLUSIONS:
This policy does not.apply t6-claim(s} for-any fines, penalties, sanctions or taxes;

All other terms and conditions remain unchanged.

810-0198 01.45 Page 4 of 1

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 28 of 37 PagelD 32

  

NOTICE TO FLORIDA INSUREDS.

© Miscellaneous Professional Liability Insurance
Claims — Made. Notice

This. policy is a CLAIMS-MADE AND REPORTED policy. Subject to the terms, conditions, exclusions and
limitations. of this policy; coverage is limited to fiability for only those claims that are first made against
you and feported to us in writing after the retroactive date and during the policy ‘period or any optional
extended reposting period, if exercised by you.

Unless othenwise endorsed, this-is a “defense within limits” policy with claim expenses included within
the Limit of Liability. The Limit: of Liability available fo- pay damages will be reduced by’ amounts-we pay
for-claim experisés as defined in the policy, Further note that amounts incurred. for claim.expenses and
damages are. subject to the deductible. Please read this policy carefully.

910-0006 11 12 Page 1 of 1

 

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 29 of 37 PagelD 33

  

LIMITED BODILY INJURY OR PROPERTY DAMAGE CARVE-BACK
(SUBLIMIT) - FLORIDA

THIS ENDORSEMENT CHANGES THE POLIGY. PLEASE READ IT CAREFULLY.
Named insured: Hayden.& Associates, Inc; D DBA-Hayden Real { Policy Number; LHW Ag74690-02

Issued by The Hanover Insurance Company.
This-‘endorsement, Effective 12:01 A.M, 08/10/2018 — modifies:the following:

SECTION E — EXCLUSIONS, Paragraph 4. is replaced by the following:

4, Arising out of bodily injury or property: damage; however; this exclusion does not apply to any
claim arising out of a wrongful act committed by.an insured in the rendering -of professional
services. ,

Notwithstanding anything to the contrary in the-poligy, including any endorsements: thereto:

Our aggregate Limit-of Liability fo? damages and claims expenses arising out of all bodily injury. or
property damage. claims covered under -this endorsement is $4,000,000 {or the applicabie
aggregate Limit-of Liability, set.forth in item.3.b. of the Declarations, whichever is less), which amount
‘will be included within, and not in addition to, the aggregate Limit-of Liability. set forth in Item 3.b. of
the Declarations.

All-othérterms and conditions remain uncharged.

910-0758FL 04 45 Page 1-of 1

 

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 30 of 37 PagelD 34

  

LIMITED DISCRIMINATION COVERAGE SUBLIMIT (FLORIDA)

‘THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY:
Named Instired: Hayden’& Associates, Inc, - DBA Hayden Real Policy Number; LHW A974690-02
Issued by The Hahover Insurance Company.

This endorsement, efféctive-12:04 A.M. 08/10/2011 modifies the following:

SECTION E.- EXCLUSIONS: WHAT THIS POLICY DOES NOT INSURE, Paragraph 7. is deleted and replaced
by:

7, Arising out.of any employment practices liability or any discrimination on any basis, including, but not.limited
to, race, creed, color, religion, ethnic background, national origin, age, handicap, disability, gender, sexual
orientation ‘or pregnancy.

However, this exclusion shall not appiy.to a claim for discrimination on any basis, incliding, but not fimited to,
‘race, creed, color, religion, atlini¢ -background,. national origin, age, handicap, disability, gender, ‘sexual
orientation dr pregnancy arising from rendering professional services,

Our aggregate: Limit-of Liability :for damages. and claim. expenses arising out of all discrimination
‘claims covered under this endorsement during the policy- period is $250, 000 which
amount will be included. within, and nat in addition-to, the: aggregate Limit of Liability set forth in Item
‘3.6. of tie Declarations.

All other terms.and conditions remain unchanged.

Q10-0772FL 04 15° . Page 1 of

 

 
9-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 31 of 37 PagelD 35

   

_ PROPERTY MANAGEMENT WITH OWNERSHIP INTEREST (FLORIDA)
oo THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Named Insured: Hayden-& Associates, Inc. 0) DBA Hayden Real | Policy Number: LHW A974690-02

\ssued by The Hanover Insurance Company.

A. SECTION.A - COVERAGE ~ WHAT THIS:POLICY INSURES, Paragraph 3. is deleted and replaced by:
3.. Personal Injury-Coverage
We will pay on your behalf those. sums which you become legally obligated to. pay.as damages and

claim expenses because.of aity claim made against you and reported to us in writing during the policy

Period, or any extended reporting periad, if applicable, that-arise from-your professional services and

are-for:

a. Your defamation, libel, slander, product disparageineént, trade libel, infliction of emotional distress or
other tort rélated to disparagement.or harmi to the reputation or.charatter of any person or-entity;

b: Your invasion or interference. with the right to privacy or publicity, including ‘but not limited false light,
public-disclosurée of private facts,.intrusion, “and invasion; or

c.. Your causing a third party to be subject to. wrongful-eviction, falge arrest, detention, or imprisonment.

B: SECTION E - EXCLUSIONS — WHAT THIS POLICY. DOES NOT INSURE is amended to.include:

This policy does not ‘apply (6 claim(s):

Based upon, arising Out of, orin any way relating to, directly or indirectly:

a) Any promoting of, syndication af, offering:or selling of any interest in-any limited partnership;

b) Any services a8 a property developer, builder, loss control. inspector, risk manager, safety inspector,
insurance agent, insurance broker, mortgage banker, mortgage broker, escrow agent, real estate
appraiser, title abstractor, and/or litle-agent; . ,

¢). Any violation or alleged violations of the Fair Debt Collection Practices Acts.(FDCPA);-

dy Any formation, growth, presence, rélease, dispersal, containment, removal, testing, for of detection or

~ monitoring of, or failure to-detect or monitor or warri about: any ‘molds, fungi, Spores, or other similar
‘growth or organic matter, including but not limited to Aspergillus, Pencillium or any strain or type of
Stachybotrys, or toxic black: molds; or

e) Any construction, constriction management of general contracting services. However, this exclusion shall
not apply to any property or building maintenance and/or’ renovations. that are within the scope of
professional services in your capacity as a property manager.and does. not require the stamp of an
Architect or Engineer.

©. SECTION E ~ EXCLUSIONS, Paragraphs 12. and 14, are deleted and replaced by:
12. Against you that are brought by or. on behalf of
‘a) Any business entity that.is owned managed:-or operated, directly or indirectly, in whole-or ‘in Part, by
you;
‘b) Any parent company; subsidiary; successor of-assignée of yours, or-anyoné affiliated with you or such
business. entity-through common majority ownership or control: of
c) -Any:independent contractor supplying material or services to-you:-
However, this exclusion shall not apply.to claims brought by an individual, entity or organization with a
financial interést in property in which-an. insured algo has an equity/ownership interest, In the event of a
claim, the amount payable as. loss by us will be reduced by the percentagé equity/ownership-owned by
the insured:or the insured's immediate family.

For the purposes: of this endorsement, immediate family means any of the following: Spouse, ex-
Spouse, Sibling(s),.Childreri, Parent(s).

910-0775FL Gi 15 Page 1 of 2

 
:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 32 of 37 PagelD 36

 
   

14. Any failure to effect or maintain, in the whole or part, any policy of insurance or reinsurance, ‘any bond, or
% any decision or advise regarding the. type cr. amount of. insurance, reinsurance; or bord to purchase or
perils to cover.

However, this exclusion shall not-apply in the event the insured uses and ‘consults with a properly
licensed insurance. agent for the insurance needs on all properties the insured is: responsible for
procuring: and -maintaining insurance. If is further understodd’ that. ‘this policy shall not apply to the
intentional failure to effect or renew any insurance.

All.other terms:and condifions remain unchanged.

910-0775FL-01 15 Page 2:0f Z

 

 

 
;19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 33 of 37 PagelD 37

  

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 34 of 37 PagelD 38

  

ADDITIONAL INSURED ENDORSEMENT
THIS.ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Named Insured: Hayden & Associates; Inc. G DBA Hayden Reai ‘Polity. Number: LHW A974890-02
Issued by The Hanover Insurance Company.

This endorsement, Effective 12:01 A.M; 08/10/2018 modifies the’ following:
The following is.added to SECTION D - DEFINITIONS, the definition of insured:

insured also means the entities fisted in the schedule of additional insureds but only while rendering
professional ‘services at the requést‘of the. named insured, in support of the named inisured’s: rendeting of
professional services to its clients; however, no. coverage is afforded under this policy for any claims. arising
from any wrongful act in the rendering of or failing: to render professionali services by any insured covered
under this endorsement that occurred prior to the retroactive: date listed. opposite. the entity listed-in the schedule
of additional insureds.

Schedule of additional insureds to which this endorsement applies:

oooDoR CHOU odoooOnoo ood _ | Oupooo

 

All other terms and conditions remain unchanged.

AR AARG At 417 . Pana 1 nf4

 

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 35 of 37 PagelD 39

  

| ADDITIONAL INSURED ENDORSEMENT

oS THIS ENDORSEMENT CHANGES. THE POLICY, PLEASE READ IT. CAREFULLY:
Named Insured: Hayden'& Associates, Inc. 0 DBA Hayden Real | Policy Number: LHW A974690-02
issued by The Hanover insurance- Company.
This endorsement, Effective.12:01.A.M. 08/10/2018 modifies the following:
The following is.added to SECTION D — DEFINITIONS, the definition of Insured:

Insured also means the entities listed in the sctiedule of additional insureds but only while. rendering
professional services at the request of the named" insured, in support of the named insured’s rendering of
professional services to its clients; however, nd coverage is afforded under this policy for any claims arising
from any wrongful act in the rendering of or failing to render professional services by any insured. covered
under this. endétsement that sccurred prior to the retroactive date listed opposite the entity Jisted inthe. schedule
of additional. insureds.

Schedulé of additional insureds té'which this endorsement applies:

O00-b8b oO DOoOooOO OGD

 

Alt othe? terms and conditions remain unchanged.

910-0085 01 12 Page 4 of 1

 

 
 

  

2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 36 of 37 PagelD 40

4

FALSE PRETENSES EXCLUSION

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ iT CAREFULLY,

Named Insured: Hayden & Associates, Inc. O BBA Hayden-Real j Policy Number: LHW'A974690-02

ow

Issued by The Hanover Insurance.Company.

This. endorsement, Effective 12:01 A.M, 08/10/2018: modifies the’ following:

MISCELLANEOUS PROFESSIONAL LIABILITY INSURANCE POLICY

(RISK PURCHASING GROUP PROGRAM)

SECTION E - EXCLUSIONS = WHAT THIS POLICY DOES NOT INSURE is amended to include:

This policy does not apply to claims based upon, arising out of or in-any way related to any transfer, payment or
delivery of funds, money ar property, by anyone, which was caused or induced by trick, artifice; or the fraudilent ,
misrepresentation ofa material fact including, but not limited to, ‘social. engineering, pretexting, phishing, ‘spear
phishing-or any other confidence trick.

All other termsand conditions remain. unchanged,

-910-0916 03 17- Page 1 of 1

 

 
Case 2:19-cv-00508-TPB-MRM Document 1-1 Filed 07/22/19 Page 37 of 37 PagelD 41

   

THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY
-MAMED ON THE FIRST PAGE OF THE DECLARATIONS.

S

In-Witness Whereof, this company has. caused! this. policy to be signed by its President and Secretary and
‘countersigned on the-declarations page, where required, by.a duly authorized agent of the company.

    

Fréderick H. Eppinger Charles Frederick Cronin
President Secretary

 

SIG-1100 08 14 Page 1 of 1

 

 

 
